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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF SOUTH CAROLINA

                                     COLUMBIA DIVISION

Sullivan Management, LLC,                       )   Civil Action No.     3:20-cv-02275-MGL
                                                )
                                Plaintiff,      )
                                                )
               vs.                              )           NOTICE OF REMOVAL
                                                )
Fireman’s Fund Insurance Company, and           )
Allianz Global Risks US Insurance               )
Company,                                        )
                                                )
                                Defendants.     )
                                                )

       Defendants, Fireman’s Fund Insurance Company, and Allianz Global Risks US Insurance

Company, by and through their undersigned counsel, hereby file this Notice of Removal

pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 and states as follows:

       1.      On or about May 8, 2020, Plaintiff Sullivan Management, LLC commenced this

action against Defendants in the Court of Common Pleas for the Fifth Judicial Circuit in

Richland County, South Carolina, Case Number 2020-CP-40-02283. Defendants were served

with the Complaint and Summons on June 5, 2020. A copy of all process, pleadings, papers, and

orders filed in this action in the Court of Common Pleas for the Fifth Judicial Circuit are attached

hereto as Exhibit A.

       2.      Defendants are filing this Notice of Removal within thirty (30) days of their

receipt of the initial pleadings setting forth the claims for relief upon which the action is based.

Therefore, this Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b).

       3.      In this action, Plaintiff seeks to recover damages for alleged “breach of contract

and bad faith” for “wrongful denial of coverage for losses” resulting from the “2019 Novel
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Coronavirus at nine Carolina Ale House restaurants and related properties” in South Carolina

and Georgia under the “insurance policy issued by Defendants” to the Plaintiff. Compl. ¶ 1.

        4.      Although the claim relates to the “Novel Coronavirus,” Compl. ¶ 1, the law

governing coverage stemming from commercial property insurance policies, and bad faith, in

South Carolina is well settled. See e.g., Kelaher, Connell & Conner, P.C. v. Auto-Owners Ins.

Co., 2020 WL 886120, at *6 (D.S.C. Feb. 24, 2020) (finding no business income loss coverage

resulting from a government order not issued due to “damage or destruction of property.”)

        5.      Plaintiff seeks “actual, incidental, and consequential damages; statutory or

punitive damages” as well as “reasonable attorneys’ fees; cost of suit; and prejudgment interest.”

Compl. ¶ 1. In the Complaint, Plaintiff alleges that damages include “$250,000” under

“communicable disease coverage,” id. at ¶ 68, and “Business Income (and Extra Expense)”

coverage with a “limit of $12,715,000.” Id. at ¶ 25.

        6.      Plaintiff is a limited liability company “organized and existing under the laws of

the State of North Carolina with its principal place of business” in South Carolina. Id. at ¶ 2.

        7.      Upon information and belief, all members of the Plaintiff limited liability

company are citizens and residents of South Carolina. None of the members of the Plaintiff

limited liability company are citizens or residents of Illinois or California.

        8.      Defendant Fireman’s Fund Insurance Company is organized under the laws of the

State of California with its principal place of business in Illinois. Id. at ¶ 5.

        9.      Defendant Allianz Global Risks US Insurance Company – which is not even a

party to the subject insurance contract – is organized under the laws of the State of Illinois with

its principal place of business in Illinois. Id. at ¶ 5.




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       10.     Based upon the above, this action is removable under 28 U.S.C. § 1441 because

the United States District Court for the District of South Carolina has original jurisdiction over

this matter pursuant to 28 U.S.C. § 1332 in that there is complete diversity of citizenship of the

parties and the amount in controversy exceeds $75,000, exclusive of interests and costs.

       11.     No admission of fact, law, or liability is intended by this Notice of Removal and

all defenses, motions, and pleadings are expressly reserved.

       12.     This Notice of Removal is electronically served upon all parties and filed with the

Court of Common Pleas for the Fifth Judicial Circuit in Richland County, South Carolina

contemporaneously with this filing. See 28 U.S.C. § 1446(d).

       WHEREFORE, Defendants, Fireman’s Fund Insurance Company, and Allianz Global

Risks US Insurance Company, pray that the above-referenced action now pending in the Court of

Common Pleas for the Fifth Judicial Circuit in Richland County be removed therefrom in its

entirety to this Court, as provided by law, and, pursuant to 28 U.S.C. § 1446(d), that the Court of

Common Pleas for the Fifth Judicial Circuit in Richland County proceed no further unless and

until the case is remanded.

       Respectfully submitted,


                               SIGNATURE PAGE ATTACHED




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                            NELSON MULLINS RILEY & SCARBOROUGH LLP


                            By: s/Chadwick S. Devlin
                                  D. Larry Kristinik
                                  Federal Bar No. 5744
                                  Chadwick S. Devlin
                                  Federal Bar No. 12390
                                  1320 Main Street / 17th Floor
                                  Post Office Box 11070 (29211-1070)
                                  Columbia, SC 29201
                                  (803) 799-2000

                                 Brett Ingerman
                                 DLA PIPER LLP (US)
                                 The Marbury Building
                                 6225 Smith Avenue
                                 Baltimore, Maryland 21209
                                 Telephone: 410.580.3000
                                 Facsimile: 410.580.3001
                                 Pro Hac Vice in Progress

                                 Rob Hoffman
                                 DLA PIPER LLP (US)
                                 1900 N. Pearl Street, Suite 2200
                                 Dallas, Texas 75201
                                 Telephone: 214.743.4500
                                 Fax: 214.743.4545
                                 Pro Hac Vice in Progress

                                 Counsel for Fireman’s Fund Insurance Company and
                                 Allianz Global Risks US Insurance Company


Columbia, South Carolina

June 16, 2020




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